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                       IN THE UNITED STATES DISTRICT COURT FOR THE
                                MIDDLE DISTRICT OF FLORIDA
                                   FORT MYERS DIVISION

 UNITED STATES OF AMERICA                                   )
                                                            )
              v.                                            )      Case No. 2:13-cr-00072-FtM-JES-CM
                                                            )
 PATRICIA LYNN HOUGH,                                       )
                                                            )
                   Defendant.                               )

        GOVERNMENT’S RESPONSE TO DEFENDANT HOUGH’S PROPOSED
      CORRECTIONS TO “OFFENSE COUNDUCT” SECTION OF PRESENTENCE
                               REPORT 1

          COMES NOW the United States, by and through counsel, and responds to Defendant

 Hough’s Proposed Corrections to “Offense Conduct” Section of Presentence Report (“Proposed

 Corrections”). Dkt. #177. The government questions the need for the Proposed Corrections

 given Defendant Hough’s prior written objections to the draft Presentence Report (“PSR”),

 Response to Government’s Sentencing Memorandum (Dkt. #163), the arguments by counsel in

 court on April 21, 2014, and the arguments set forth in Defendant Hough’s Rule 29 motion (Dkt.

 #138). However, given the filing, the government incorporates its previous responses to all of

 these pleadings and arguments, and again responds to Defendant’s arguments, which are not

 supported by the record or the jury’s verdict. 2 In fact, Defendant Hough does not cite to a single

 trial exhibit or transcript citation in support of these Proposed Corrections.

          Generally, Defendant Hough’s Proposed Corrections leave the incorrect impression that

 Luetolf and Singenberger were independent actors who opened bank accounts, created nominee

 entities, and identified beneficial owners of their volition. While Singenberger may have

 1
   Defendant Hough represents that the pleading “set[s] forth paragraphs 7 through 44 of the presentence report in
 their entirety...” Given time constraints, the government has not cross-referenced the pleading with the final PSR to
 be sure that it was accurately transcribed.
 2
   The government, in this pleading, only responds to Defendant Hough’s specific “corrections”.


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 literally filled out forms, he was paid to be a nominee Director by Defendants Hough and

 Fredrick to do just that and had a power of attorney to act on their behalf. GX 3E at pages 19,

 42-44; GX 3EE at page 4; and GX 4A at page 19.

            Furthermore, many of the Proposed Corrections eliminate Defendant Hough’s name and

 maintain Fredrick, yet the same circumstantial evidence supports her involvement in the

 transaction and that of Defendant Fredrick. In many instances, the proof is circumstantial, i.e.:

 Defendants Fredrick and Hough owned the Saba Foundation or New Vanguard or any of the

 other nominee entities, and there is no email or correspondence to establish which of them

 initiated a wire. Circumstantially, Luetolf and/or Singenberger could not have acted without

 direction from one or both of the Defendants since they were the owners and/or signatories on

 each of the accounts. See Government’s Response to Defendant’s Motion for Judgment of

 Acquittal Pursuant to Rule 29 (Dkt. #144); 10/9/2013 Trial Transcript at pages 207-208

 (Futterknecht testified that a client advisor could be fired for trading without permission from the

 client).

 Paragraphs 7 and 8:

            The government objects to the proposed corrections. With respect to many of Defendant

 Hough’s arguments at the April 21, 2014 hearing and contained in the Proposed Corrections,

 Defendant Hough fails to correctly apply the concept of substance over form. “The fundamental

 premise underlying the Internal Revenue Code is that taxation is based upon a transaction’s

 substance rather than its form.” Gregory v. Helvering, 293 US 465, 469 (1935); Frank Lyon Co.

 v. United States, 435 US 561, 573 (1978) (“[t]he Court has never regarded the simple expedient

 of drawing up papers as controlling for tax purposes when the objective economic realities are to

 the contrary.”). The government proved that Defendant Hough owned all of the undeclared


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 accounts, including those in the name of the Saba Foundation and MUA. The jury heard

 testimony from both David Minchenberg and RA Maurer concerning the concept of “Substance

 over Form.” 10/11/2013 Trial Transcript at pages 84-85; GX 7K. RA Maurer testified that

 “[s]ubstance over form means that you can’t just fill out papers, or form, and disguise what is

 really underneath the … what the real underlying transaction is.” 10/17/2013 Trial Transcript at

 page 128. While there was testimony at trial that, in form, no individual can own a Netherlands

 Antilles Foundation, all of the evidence introduced at trial proved that, in substance, Defendant

 Hough and Fredrick actually owned the Saba Foundation and MUA, as well as the other nominee

 entities.

 Paragraph 9:

         The government objects to the removal of the language that Hough and Fredrick “owned

 the Saba Foundation.” With respect to the ownership of the Saba Foundation, please refer to the

 government’s response regarding Paragraphs 7 and 8.

         The government objects to the addition of language that Defendant Hough served on the

 Board of Directors and Board of Trustees “in the early 1990s” because Defendant Hough signed

 a document on behalf of the Board of Trustees in May 2006. See GX 11MM at page 1; GX 4C

 at pages 112-113 (in order to open the Saba Foundation account at Liechtenstein Landesbank,

 documents were provided that listed Defendant Hough as a board member of the Saba

 Foundation. The document is dated 2006.

         The government objects to the addition of language that Hough and Fredrick were “listed

 by Luetolf as” the beneficial owners of the Saba Foundation account. Defendants Hough and

 Fredrick were identified as the beneficial owners on the Form A for the undeclared account at




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 UBS in the name of the Saba Foundation and Defendants Hough and Fredrick both signed this

 document. See GX 3U at page 1.

 Paragraph 10:

        The government objects to inclusion of language that Hough and Fredrick were “listed

 by Luetolf as” the beneficial owners of the MUA account at UBS. Defendants Hough and

 Fredrick were identified as the beneficial owners on the Form A for the undeclared account at

 UBS in the name of MUA, and Defendant Fredrick signed this document. See GX 3Y at page 1.

 Further, Defendant Hough was aware that these documents were being filled out as she was

 copied on an email concerning them. In that email, Defendant Fredrick says that he is “waiting

 for Pat to return to get her to sign the Account Opening, Auth Signatures, Waiver…” See GX

 3KK at page 24-25.

 Paragraph 13:

        As the government argued at the April 21, 2014 hearing, there is no evidence as to the

 name the account at SG Hambros Bank was formally titled in. The evidence, does however

 show that Defendants Hough and Fredrick instructed SG Hambros Bank in the Bahamas to

 “close our account” and instructed the bank to transfer the funds to UBS in Switzerland. The

 account at UBS into which those funds were deposited was in the name of Ample Dynamic. See

 GX 3P at page 6 (emphasis added); see also GX 3P at page 5 and GX 3P at page 16 (“Account

 used to receive assets resulting from closure of account with SG Hambros Bahamas, the money

 being funneled on to the personal account of the beneficial owners.”); GX 3HH at page 35 and

 3KK at page 47. Based on the evidence at trial, the government recommends that the sentence

 read: “Hough and Fredrick owned an undeclared foreign account at SG Hambros Bank and UBS

 in the Bahamas.”


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        The government objects to the removal of the language “When the Bahamas entered into

 an information exchange agreement, Hough and”. As argued in the government’s Response to

 Defendant Hough’s Objections to Presentence Report and Response to Government’s Sentencing

 Memorandum (Dkt. #167) at page 1, the communications detailed above coincided with a tax

 information sharing agreement entered into by the Bahamas and the United States which went

 into effect on January 1, 2004. See Exhibit 1.

        Defendant Hough also testified at trial that she met with Dieter Luetolf to provide him

 with the documents which ultimately resulted in the opening of the accounts at UBS. See

 10/21/13 Trial Transcript at pages 117-121. Therefore, the government objects to the proposed

 revision by Defendant Hough at the end of Paragraph 13 because her meeting and opening of

 accounts helped to accomplish the transfer of Defendants Hough and Fredrick’s accounts to UBS

 in Switzerland. See 10/21/2013 Trial Transcript at pages 117-20.

 Paragraph 14:

        The government objects to Defendant Hough’s proposed corrections to this paragraph.

 Defendants Hough and Fredrick were identified as the beneficial owners of the undeclared

 account at UBS in the name of MTA, and Defendants Fredrick and Hough both signed this

 document identifying themselves as the beneficial owners. See GX 3J at page 1. Therefore, this

 paragraph is correct as written.

 Paragraph 15:

        The government objects to Defendant Hough’s proposed corrections to this paragraph.

 Defendants Hough and Fredrick were identified as the beneficial owners of the undeclared

 account at UBS in the name of Apex Consultants, and Defendants Fredrick and Hough both

 signed this document. See GX 3N at page 1. Therefore, this paragraph is correct as written.


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 Paragraph 16:

        The government does not object to the addition of “identified by Singenberger”, but

 would note that Singenberger was acting under a duty to properly report information to UBS

 pursuant to the contractual relationship between Sinco and UBS as well as Swiss law, and as a

 paid nominee director. 10/9/2013 Trial Transcript at pages 66-68; GX 3E at pages 19, 42-44;

 GX 3EE at page 4, GX 4A at page 19.

        The government objects to the addition of “beginning in early 2007.” According to the

 Annual Return of Medical University of the Americas, on January 1, 2006, New Vanguard held

 20,000 shares of MUA. See GX 11F. Therefore, this paragraph is correct as written.

 Paragraph 17:

        The government does not object to the addition of “identified by Singenberger”, but

 would note that Singenberger had a duty to properly report as previously discussed. See

 Paragraph 16.

 Paragraph 18:

        The government does not object to the addition of “identified by Singenberger”, but

 would note that Singenberger had a duty to properly report as previously discussed. See

 Paragraph 16.

 Paragraph 20:

        The government objects to Defendant Hough’s proposed corrections and incorporates its

 arguments under Paragraphs 9 and 13.

 Paragraph 21:

        The government objects to Defendant Hough’s assertion that Singenberger created Hong

 Kong nominee entities for “the Saba Foundation,” namely New Vanguard and Top Fast. The


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 government incorporates its discussion, supra, regarding Paragraphs 7 and 8 and specifically the

 law regarding substance over form. Further, Defendant Hough’s assertion that Singenberger

 created New Vanguard and Top Fast for the Saba Foundation presumably relies on Defendant

 Hough’s testimony that these nominees were created for asset protection and that she acted as a

 “caretaker” for the schools. The jury necessarily rejected this assertion by Defendant Hough in

 convicting her.

           The government objects to Defendant’s assertion that only Fredrick caused Singenberger

 to open undeclared foreign accounts in the name of New Vanguard and Top Fast. Defendant

 Hough testified at trial that she met, along with Defendant Fredrick, with Singenberger in Boston

 to discuss additional entities and alleged asset protection. See 10/21/2013 Trial Transcript at

 pages 171-177 184-185 and 271-274. Additionally, she was aware that these accounts were

 opened as she authorized the transfer of assets from her and Defendant Fredrick’s individual

 accounts at UBS to the New Vanguard account at UBS. See GX 3KK at page 31 and GX 3S at

 page 9.

           The government objects to the assertion that “Luetolf opened an undeclared foreign

 account in the name of MUA and identified Hough and Fredrick as the owner of the assets.” In

 2005, Defendants Hough and Fredrick opened an undeclared foreign account in the name of

 MUA, and Fredrick identified himself and Hough as the beneficial owners of the assets. See GX

 3Y at page 1. Defendant Hough was also a signatory on the account. See Id. at page 12.

           The government objects to the proposed correction that only Fredrick caused

 Singenberger to open an undeclared foreign account in the name of the nominee entity Ample

 Dynamic. See supra at page 2.




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        The government does not object to the addition of “identified by Singenberger”, but

 would note that Singenberger had a duty to properly report as previously discussed. See

 Paragraph 16.

 Paragraph 22:

        The government objects to Defendant Hough’s proposed corrections and incorporates its

 arguments on page 2 supra.

 Paragraph 23:

        The government objects to Defendant Hough’s proposed corrections. There is no

 evidence that the Board of Directors of the Saba Foundation and MUA attempted to sell the

 medical schools; Defendants Hough and Fredrick were the only individuals involved in the

 potential sale to the Huntington Institute in 2002 and 2003. See GX 6C through 6I.

 Furthermore, Defendant Hough was involved with this potential sale, including signing the

 Letters of Intent and emailing and meeting with the potential buyers. See GX 6D, 6F, 6H, and

 6I.

 Paragraph 24:

        The government objects to Defendant Hough’s proposed corrections. Defendant Hough

 executed Asset Management and Portfolio Asset Management Agreements for many of the

 accounts. The Agreements provided UBS with a discretionary mandate to invest and manage the

 assets in their undeclared foreign accounts. Defendant Hough authorized trades in the accounts

 when she opened the accounts by virtue of signing these documents. See GX 3GG at pages 14

 and 19; GX 3R at pages 15 and 20; GX3U at pages 17, 22, and 28.

        Furthermore, Defendant Hough was fully aware both that the funds were invested in the

 account and that they were being used for asset purchases. For example, on February 8, 2005,


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 Defendant Fredrick emailed Luetolf and stated “Pat said you wanted to tell me about a plan that

 she was in that I was not…you are not going to let her make more money than me, are you?!”

 Luetolf responded that Defendant Hough was referring to the double currency investment which

 Defendant Fredrick was already investing in. See GX 3KK at page 13 and GX 3S at page 24.

        Defendant Hough was copied on numerous emails from Defendant Fredrick concerning

 transfers and purchases. See GX 3E at page 160 (“I believe when we spoke with Beda, we

 determined that the wire for the house we are buying should come from our Hong Kong

 company (New Vanguard). The amount and wire instructions are listed below…”); GX 3E at

 page 203 (“With interest rates rising and everything else very unstable, I am considering taking

 all the funds in all our accounts, and putting them into a simple interest bearing account.”); GX

 3HH at page 3 (Email from Fredrick to Luetolf: “I just spoke to Pat and she agrees that we

 should move 5.0 to the Enhanced Return Managed Portfolio.”); GX 3HH at page 11 (letter

 signed by Defendant Hough authorizing management of $3 million in an Absolute Return

 Portfolio Defensive); GX 3HH at pages 20, 27 (email from Defendant Hough confirming split of

 joint account); GX 3HH at page 28 (email from Defendant Hough stating “[w]e typed an

 additional statement authorizing the removal of his name from the original account.”); GX 3HH

 at pages 30 and 31 (typed and signed documents authorizing removal of Defendant Fredrick

 from joint account).

        The jury’s verdict, particularly on the §7206(1) counts, supports the statement that the

 various accounts earned interest, dividend, and capital gains income for Hough and Fredrick

 which was not reported on Hough and Fredrick’s Forms 1040.

        There was no evidence presented that any of the $5 million transferred as part of the

 “China project” was ever transferred back to the Saba Foundation. Further, Katherine Yates told


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  investigators that she did not remember if the schools were investing in China or if they were to

  spend $5 million in China. See Exhibit 2, MOI of Kathryn Yates dated September 10, 2013.

  The documentation was prepared by Singenberger in order to substantiate the $5 million

  payment when Jeffrey Gallant questioned the basis for the transfer during the 2006 audit. See

  GX 9Q and 9P.

  Paragraph 25:

         The government objects to Defendant Hough’s proposed corrections. Fredrick and

  Hough both made real estate and other asset purchases using funds from the undeclared foreign

  accounts; many of these assets were purchased in the name of Fredrick and Hough’s LLC, Lynn,

  Leon, Lyon Group, of which Fredrick and Hough were the 50-50 owners. See GX 3E at page

  160; GX 12E (email from Defendant Hough re: purchase of land next to “our home” in

  Asheville, NC); GX 24A.

         With respect to the Sarasota condo, Singenberger, at Hough and Fredrick’s direction, see

  supra, caused UBS to transfer $850,000 from the Top Fast account to an attorney’s escrow

  account for payment of the condo. See GX 3MM at page 117 and GX 3FF at page 303. The

  condo was purchased in the name of Lynn, Leon, Lyon Group.

  Paragraph 27:

         The government objects to Defendant Hough’s proposed corrections. Defendant Fredrick

  emailed Luetolf, Singenberger, and Hough questioning the procedure for having money

  transferred now that Singenberger was involved. The email stated that Defendant Fredrick

  believes that when they spoke with Singenberger, “the wire for the house we are buying should

  come from our Hong Kong company (New Vanguard).” The email then directs Luetolf to wire

  $1,140,000 to a trust account in the United States. See GX 3E at page 160. Defendants Fredrick


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  and Hough bought this house in the name of their joint LLC, Lynn, Leon, Lyon Group. See GX

  14A. Additionally, Defendant Hough testified that she though the money for the home was a

  loan from Saba, admitting that at the very least she knew the funds for the purchase came from

  Saba. See 10/21/2013 Trial Transcript at pages 252-254.

  Paragraph 28:

         The government does not object to changing the date from “late 2007” to “early 2008.”

  The government does object to the proposed correction adding Rudow’s testimony. Defendant

  Hough was involved with the Asheville, NC property purchase, including emailing Rudow to

  question when they were going to receive the deed of trust, see GX 12D, and to inform Rudow

  that she and Defendant Fredrick had “put down an offer on some land next to our home on

  Patton Mountain Rd. in the name of our LLC.” See GX 12E.

         As to the objections that Defendants Hough and Fredrick “allegedly sold” their Asheville

  residence to Aldunatec and that Montenegro signed as the “alleged Trustee”, the evidence at trial

  established that Defendants Hough and Fredrick were the owners of the Foundation. Further,

  testimony from Rudow showed that Rudow had no contact with Montenegro and that all contact

  concerning the seller came through Defendant Fredrick. See 10/21/2013 Trial Transcript at

  pages 21-27. Moreover, there were numerous documents that showed Montenegro’s signature.

  See GX 12K at page 4; GX 12L at page 3; GX 12M at page 2; GX 12N at pages 2-3; GX 16C at

  page 1 and GX 20D. Based on all of this, the jury could conclude that Montenegro was nothing

  more than a rubber stamp.

  Paragraph 29:

         The government has no objection to Defendant Hough’s proposed correction.




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  Paragraph 31:

         The government objects to Defendant Hough’s proposed correction. See argument supra

  concerning ownership of the undeclared account in the name of New Vanguard, Ample Dynamic

  and the Saba Foundation.

  Paragraph 32:

         The government objects to Defendant Hought’s proposed corrections. The jury’s verdict

  supports the fact that Defendants Fredrick and Hough owned the Saba Foundation and MUA and

  that while there may have been a Board resolution “authorizing” the sale, it was, based on all of

  the evidence presented at trial, Defendant Hough and Fredrick’s decision to sell the medical

  schools. See also Response regarding Paragraphs 7 and 8 supra.

  Paragraph 35:

         The government objects to Defendant Hough’s proposed corrections. See Government’s

  Notice re: Portion of Transcripts Relevant to Defendant’s Present Report Objections (“Notice”)

  (Dkt. # 176).

  Paragraph 37:

         The government objects to Defendant Hough’s proposed corrections. See argument

  supra concerning ownership of Saba Foundation and New Vanguard.

  Paragraphs 38-44:

         The government objects to the removal of Paragraphs 38-44 and submits that they are an

  accurate recitation of the offense conduct. Specifically, the government incorporates its response

  concerning paragraph 38 from its Notice (Dkt. #147).




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  Paragraph 40:

         The government objects to Defendant Hough’s proposed corrections. Mr. Minchenberg

  testified that during the audit, questions arose about the business structure of the schools. The

  auditors, Mr.Minchenberg, and Defendant Fredrick were involved with those discussions.

  10/11/2013 Trial Transcript at page 49. He further testified that he was asked to provide advice

  about the structure at the direction of Defendant Fredrick and the accountants, Schneider &

  Associates. Id. at page 50. Mr. Minchenberg explained that in seeking advice on the sale and

  exit strategy, Defendant Fredrick came up with the 50/50 breakdown for ownership of the

  potential for-profit entity and that Defendant Fredrick never told him that Defendant Hough

  would not have an ownership interest in it. Id. at page 58.

         Mr. Minchenberg testified that he was not an expert in international law, international tax

  or the preparation of Forms 5471. See 10/11/2013 Trial Transcript at pages 57, 68, 73, 75, 125.

  Mr. Minchenberg testified that he prepared the Forms 5471 for Defendant Hough to file with

  their personal income tax returns. Id. at page 68.

  Paragraphs 42 and 43

         The government objects to Defendant Hough’s proposed corrections to paragraphs 42

  and 43. Mr. Minchenberg testified that he discussed the Forms 5471 with Defendant Hough in

  writing and once in person and collected information from “both Dr. Fredrick and Dr. Hough”

  for the preparation of the Forms. 10/11/2013 Trial Transcript at pages 67 – 68. Mr.

  Minchenberg further testified that he sent the checklist concerning the requirements for Forms

  5471 to both Defendants Hough and Fredrick, id. at page 69, and informed Defendant Hough by

  email that these Forms needed to be filed. See GX 7Q; GX 7S; and 10/11/2013 Trial Transcript




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  at pages 74-77 (Minchenberg recommended that he and Defendants Fredrick and Hough sit

  down to discuss the issues and Defendant Hough responded that it was not urgent).

         In addition, the government incorporates its argument supra concerning substance over

  form. What Mr. Minchenberg believed about the ownership of the Saba Foundation was based

  only on incomplete information provided by Defendants Hough and Fredrick, and his opinion

  was not informed by all of the facts presented at trial. Therefore, the government objects to

  inclusion of this proposed correction.

                                                       LEE BENTLEY
                                                       Acting United States Attorney


                                               By:     /s/ Caryn D. Finley
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on April 28, 2014, I electronically filed the foregoing with the Clerk

  of Court using the CM/ECF system, which will send a notification of that electronic filing (NEF)

  to the following:

  Bruce L. Udolf
  Nathan J. Hochman
  Daniel Saunders


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